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 9
10                      IN THE UNITED STATES DISTRIC COURT
11
                     FOR THE WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
12
13   HUSSEIN JAMA, a seaman                )          AT LAW AND IN ADMIRALTY
                                           )
14                Plaintiff,               )          CASE NO.
15                                         )
     v.                                    )
16                                         )          SEAMAN'S COMPLAINT IN
17   NORTH STAR FISHING COMPANY            )          REM AND IN PERSONAM
     aka/and IQUIQUE U.S. LLC, a           )          FOR PERSONAL INJURY
18   Washington Limited Liability Company; )
19   CAPE HORN VESSEL, LLC., a             )
     Washington Limited Liability Company; )
20   and The F/T CAPE HORN, Official       )
21   No. 653806, a vessel, her engines,    )
     equipment, tackle and appurtenances, )
22   In Rem,                               )
23                                         )
                  Defendants.              )
24                                         )
25
26                                     I. JURISDICTION
27
            1.1    This is a claim for relief brought by plaintiff, Hussein Jama, a seaman,
28
29   against the owner and/or operator of a vessel for personal injuries sustained aboard
30
     said vessel. Jurisdiction is vested in the Court by virtue of general maritime law, 28


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 1   U.S.C. 1333; the Jones Act, 46 U.S.C. § 688 et seq., and common law negligence.
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                                            II. PARTIES
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 4          2.1    At all times material hereto, plaintiff was a seaman and employed by

 5   defendants above named, as a member of the crew of the F/T CAPE HORN, Official
 6
     No. 653806, a vessel in navigation in the navigable waters of the United States.
 7
 8          2.2    At all times material hereto defendants, North Star Fishing Company,

 9   LLC aka/and Iquique U.S. LLC, Cape Horn Vessel, LLC were the owners/operators
10
     of the F/T CAPE HORN and the employer of plaintiff herein.
11
12          2.3    At all times material hereto defendants, North Star Fishing LLC.,
13   Iquique U.S. LLC., and Cape Horn Vessel, LLC, were Washington limited liability
14
     companies doing business in the State of Washington.
15
16          2.4    At all times plaintiff was a resident of the State of Washington.
17                                   III. CLAIM FOR RELIEF
18
            3.1    Plaintiff restates paragraphs 1.1 – 2.4.
19
20          3.2    On or about September 16, 2015, while working as a
21
     deckhand/processor aboard the F/T CAPE HORN, in navigable waters, plaintiff
22
     suffered severe injuries to his right hand and other areas of his body due to the
23
24   negligence of the defendants and each of them and the unseaworthiness of the F/T
25
     CAPE HORN. Plaintiff's injuries were sustained while working near the freezer area
26
     when the vessel foreman and/or other crewmembers turned on certain equipment
27
28   without notice to plaintiff causing loaded fish pains to contact and pinch plaintiff’s
29
     right hand resulting in injury to plaintiff’s hand. Plaintiff reported the incident and was
30
     seen on September 21, 2015 in Unalaska, Alaska for treatment of his injuries.

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 1                                    JONES ACT CLAIMS
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            3.3    Defendants were negligent, as were the officers, agents and
 3
 4   employees acting on their behalf by reason of including but not limited to: failure to

 5   provide an adequate and safe place to work; failure to adopt a safe method of work;
 6
     failure to provide and maintain reasonably safe equipment and appliances; failure to
 7
 8   warn or alert crewmembers that a machine was to be turned on; failure to provide

 9   sufficient warnings of known hazard; failure to correct known dangerous conditions;
10
     failure to provide adequate protective gear for the constant bending, twisting and
11
12   turning; failure to provide a reasonable work schedule, failure to train its crew and
13   failure to properly operate equipment.
14
            3.4    Defendant, and all persons acting on its behalf, failed to provide
15
16   plaintiff with a safe place to work, in that the work place of plaintiff was unsafe by
17   reason of including but not limited to, all of the above. Further, at the time and place
18
     of his accident, plaintiff was entirely within the scope of his employment and did not
19
20   contribute to any negligent act or to the cause of his injuries.
21
                                     UNSEAWORTHINESS
22
            3.5    For additional cause of action against defendants, plaintiff alleges
23
24   defendants' vessel was unseaworthy at the time and place of plaintiff's injuries and
25
     was not reasonably fit for seaman.
26
            3.6    The unseaworthiness of the vessel included but is not limited to: failure
27
28   to provide an adequate and safe place to work; failure to adopt a safe method of
29
     work; failure to provide and maintain reasonably safe equipment and appliances;
30
     failure to provide sufficient warnings of known hazard; failure to correct known

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 1   dangerous conditions; failure to provide a reasonable work schedule and failure to
 2
     provide necessary medical assistance.
 3
 4          3.7        Defendants were in violation of minimum standards established by

 5   applicable codes and regulations with respect to providing a safe place to work, and
 6
     this was a cause of plaintiff's injuries. A combination of these items, and each of
 7
 8   them, rendered the F/T CAPE HORN, unseaworthy at the time and place of plaintiff's

 9   injuries.
10
            3.8        Plaintiff does further allege that at the time and place of his injuries
11
12   plaintiff was not contributorily negligent and did not cause or contribute to the cause
13   of his injuries nor did he assume any of the risk of his injuries.
14
            3.9        As a result of the injuries sustained by plaintiff, plaintiff has suffered
15
16   substantial and debilitating personal injury, wage loss, permanent impairment of
17   wage earning ability, future pain and suffering, mental anguish, disfigurement and
18
     loss of enjoyment of life. Plaintiff sues herein as further claimed in plaintiff's prayer
19
20   below for recovery for all such personal injuries, wage loss, reduced income-earning
21
     capacity, including prejudgment interest on any award entered in this proceeding.
22
                 IV.     MAINTENANCE CURE UNEARNED WAGES AND FOUND
23
24          4.1        Plaintiff restates paragraphs 1.1 – 3.9.
25
            4.2        As a seaman injured in the course and scope of his employment
26
     aboard the F/T CAPE HORN, plaintiff is entitled to maintenance, cure, unearned
27
28   wages and found.
29
                                               V. PRAYER
30
            Plaintiff prays for the following relief:

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 1          5.1   For judgment, against defendants and each of them and F/T CAPE
 2
     HORN, in aN amount to be proven at trial for general and special damages;
 3
 4          5.2   For all maintenance, cure and unearned wages to which plaintiff is

 5   entitled;
 6
            5.3   For found in an amount to be proven at trial;
 7
 8          5.4   For prejudgment and post-judgment interest;

 9          5.5   For the reasonable costs of maintaining this suit;
10
            5.6   For reasonable attorney fees; and
11
12          5.7   For an award to plaintiff of any other relief this Court deems equitable
13   or just.
14
            DATED this 7th    day of September, 2018.
15
16                                            DANN D. SHEFFIELD & ASSOCIATES
17
18                                            /s/Dann D. Sheffield
                                              Dann D. Sheffield WSBA 6815
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                                              Attorney for Plaintiff
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